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                         IN THE UNITED STATES DISTzuCT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


LEIA MONTGOMERY and                              )
KRISTEN MEGHAN KELLY,                            )
                                                 )
                       Plaintil'li.              )
                                                 )
                                                 )
                                                 )
DELTA AIR LINES, INC.,                           )
                                                 )
                       Defendant.                )    Civil Action No. 3:21-CV-271 5-C

                                      SCHEDULI G ORDER

l.      Pursuant to Rule 16(b). Fed. R. Civ. P., the Court establishes the following schedule for
        this case

        (a)     Motions to join other parties and amend the pleadings must be filed by 3:00 p.m.
                on March 15,2022.

        (b)     Mediation must be completed and motions for summary judgment must be filed
                by 3:00 p.m. on November 15,2022.

        (c)     Motions in limine must be filed and discovery must be completed by 3:00 p.m. on
                February 13,2023.

        Deadlines will "not be extended except upon good cause shown and by order ofthe
        Court." See Saavedra v. Murphy Oil U.S.A., lnc. v. Lou-Con, Lnc.,930 F.2d 1104, I107
        (5th cir. l99l).

2       Unless further ordered by the Court, the parties are not required to make initial
        disclosures under Rule 26(a)(l), Fed. R. Civ. P., and no conferences are required under
        Rule 26(f), Fed. R. Civ. P.

3       Counsel are expected to cooperate with each other in conducting discovery, clarifting the
        issues, and getting the case ready for trial. Specifically, counsel must strictly comply with
        the mandates set forth in Dondi Properties Corporalion v. Commerce Savings & Loan
        Association,l2l F.R.D. 284 (N.D' Tex. 1988) (en banc) (per curiam).

4.      Filing documents electronically is not mandatory. However, in all cases where electronic
        .ur" filirg is done, counsel may serve and respond to written discovery requests through
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       elecEonic mail service. This discovery practice will be govemed by the Northem District
       ofTexas Local Rules, this Court's Local Rules/Judge Specific Requirements, and the
       Cterk's ECF Administrative Procedures Manual regarding electronic case filing
       procedures.

5      Counsel are refened to the Local Rules of the Northem District ofTexas, the Civil Justice
       Cost and Delay Reduction Plan of the Northern District ofTexas, and the Local Rules/
       Judge Specific Requirements of this Court.

6.     The above case is set for trial at 9:00 a.m. on March 6,2023, in the United States District
       Courtroom, Earle Cabell Federal Building, Dallas, Texas.r Counsel shall comply with the
       following:

       (a)     All counsel      jointly prepare a proposed pretrial order for the Court to enter,
                             shall
               which shall contain the following:

               (1)     a summary ofthe claims and defenses ofeach party;
               (2)     a statement of stipulated facts;
               (3)     an estimate of the length of trial;
               (4)     a list ofadditional matters which would aid in the disposition ofthe case;
               (5)     the signature ofeach counsel; and
               (6)     a place for the date and signature ofthe Court.


               Counsel are ordered to conler prior to the date of submission of the proposed
               pretrial order, and a certificate shall be attached to the proposed order, signed by
               counsel, stating that such a conference has been held, the stipulations are agreed
               upon, and that the proposed pretrial order is submitted to the Court for entry.
               Failure to agree upon the wording or terms ofthe proposed order will not be an
               excuse for not filing same, but counsel may place in such order their respective
               versions ofthe matters to be included.

        (b)    At least twenty-one (21) days before the scheduled date for trial, counsel shall file
               with the Clerk and serye on opposing parties proposed instructions and questions
               in jury cases and proposed findings offact and conclusions of law in non-jury
               cases, any trial briefs that counsel may desire to present to the Court, and the
               proposed pretrial order.

        (c)    At least twenty-one (21) days before the scheduled date for trial, counsel shall file
               with the Clerk and serve on opposing parties the information described under Rule
               26(a)(3)(A), Fed. R. Civ. P. At the same time, exhibits shalI be exchanged


       rlf the parties agree that an earlier trial setting is appropriate, the court will consider a
motion to reschedule trial.
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              between the parties. Because the court finds    it more practical to make evidentiary
              rulings at time oltrial, counsel are not required to file objections to exhibits
              pursuant to Rule 26(a)(3)(B), Fed. R. Civ. P.

      (d)     Ifa pretrial conference is deemed necessary, counsel shall notifu the Court at the
              time of filing the proposed pretrial order, or sooner, and the Court will, at the
              Court's discretion, schedule such a conference.

      (e)     In   jury
                    cases, counsel are not required to submit proposed voir dire questions.
              Counsel will be permitted to conduct voir dire of the jury panel, subject to further
              order of the Court.

      (0      The above trial setting will continue for the following weeks during the same
              month. This case has been scheduled for trial with other cases. You are
              responsible for staying in contact with the Judge's chambers to determine
              where your case stands on the Court's docket. There will be no docket call.

       (e)    Should counsel fail to appear at a scheduled pretrial conference or to timely
              submit a complete and correct pretrial order as required or fail to comply with the
              other directions set out herein, an ex parte hearing may be held andjudgment of
              dismissal, default, or other appropriate order will be entered.

7      Any party not represented by counsel is expected to comply with the above

       SO ORDERED.

       Dated: November 8, 202       I   .




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                                             S       R.C      INGS
                                                     OR    ITED STATES         S    CT JUDGE




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